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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES HOUSE OF
REPRESENTATIVES,

                               Plaintiff,

       v.                                                    No. 19-cv-00969 (TNM)

JANET L. YELLEN, in her official capacity as
Secretary of the Treasury, et al.,

                               Defendants.




                                   JOINT STATUS REPORT

       In accordance with the Court’s Order of May 14, 2021, Plaintiff and Defendants submit

the following joint status report addressing further proceedings in this case.

       On June 11, 2021, Defendants filed a petition for a writ of certiorari in the Supreme

Court seeking review of the D.C. Circuit’s decision that the House of Representatives has

standing to bring its claim that the Executive Branch violated the Appropriations Clause by

spending funds in excess of congressional authorization. See United States House of

Representatives v. Mnuchin, 976 F.3d 1 (D.C. Cir. 2020). The petition requests that the

Supreme Court vacate the D.C. Circuit’s judgment and remand with instructions to dismiss this

case as moot under United States v. Munsingwear, Inc., 340 U.S. 36 (1950). See Yellen v.

United States House of Representatives (U.S.) (docket number pending).

       In light of the pending petition for certiorari, the parties agree that proceedings in this

Court should remain stayed pending resolution of the proceedings in the Supreme Court.




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Dated: June 14, 2021                         Respectfully submitted,


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